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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                       Case No. 1:15-cr-00073-BLW

                     Plaintiff,
                                                 ORDER CONTINUING TRIAL
        v.                                       AND TRIAL READINESS
                                                 CONFERENCE
 RUSTY WESLEY BURLINGTON, et al.,

                     Defendants.


      Defendant Matthew Olivas was recently arraigned and scheduled for trial on June

15, 2015. The co-defendants are scheduled for trial on a different date. Under the Speedy

Trial Act, 18 U.S.C. § 3161(h)(6), excludable time exists for “a reasonable period of

delay when the defendant is joined for trial with a co-defendant as to whom the time for

trial has not run and no motion for severance has been granted.” No motion for severance

has been filed. Accordingly, pursuant to 18 U.S.C. § 3161(h)(6), the Court will move

Defendants Rusty Burlington and Cody Burlington’s trial to June 15, 2015 with defendant

Matthew Olivas. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the present trial date for

Defendants Rusty Burlington and Cody Burlington is VACATED, and that a new trial be

set for June 15, 2015 at 1:30 p.m. in the U.S. Courthouse in Boise, Idaho.

      IT IS FURTHER ORDERED that the period of time between the prior trial date

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and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6).

      IT IS FURTHER ORDERED that the current trial readiness conference for

Defendants Rusty Burlington and Cody Burlington be VACATED, and that a new trial

readiness conference be conducted by telephone on June 4, 2015 at 4:00 p.m. The

Government shall place the call to (208) 334-9145 with opposing counsel on the line.



                                        DATED: May 6, 2015



                                        B. LYNN WINMILL
                                        Chief U.S. District Court Judge




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